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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                               CASE NO.: 1:06-CR-005-SPM

CAROLINE PARRA,

     Defendant.
__________________________________/

                      ORDER CONTINUING SENTENCING

       THIS CAUSE comes before the Court upon the “Defendant’s Unopposed

Motion to Continue Sentencing” (doc. 68) filed August 22, 2006, in which

Defendant requests a 30-day continuance in order to testify, if needed, at the trial

of Jesus Gonzalez in an attempt to provide substantial assistance to the

Government. The Government is unopposed to the granting of the motion.

       Finding good cause for the postponement, it is

       ORDERED AND ADJUDGED as follows:

       1.     The motion to continue sentencing (doc. 68) is granted.

       2.     Sentencing is reset for Monday, November 6, 2006 at 1:30 pm at

              the United States Courthouse in Gainesville, Florida.

       DONE AND ORDERED this twenty-third day of August, 2006.


                                     s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
